                                                                                             FILED
                                                                                        CHARLOTTE, NC
                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA                            JUL - 5 2017
                                 CHARLOTTE DIVISION                                  US DISTRICT COURT
                                                                                   WESTERN DISTRICT OF NC
                                  CRIMINAL NO.: 3: l7crl4-FDW

UNITED STATES OF AMERICA.
                                                                 CONSENT ORDER AND
                                                               JUDGMENT OF FORFEITURE
                                                                 PENDING RU LE 32.2(c)(2)
(3) SALVADOR MARTINEZ.YANEZ


         BASED UPON the Defendant's plea of guilty and finding that there is a nexus between
the property   listed below and the offense(s) to which the Defendant has pled guilty and that the
Defendant (or any combination of Defendants in this case) has or had a possessory interest or other
legal interest in the property, IT IS HEREBY ORDERED THAT:

        l.     The following property is forfeited to the United States pursuant to 21 U.S.C. g
853, provided, however, that forfeiture ol specific assets is subject to any and all third party
petitions under 2l U.S.C. $ 853(n), pending final adjudication herein:

        A forfeiture money judgment in the amount of $200,000, such amount constituting
        the proceeds of offenses set forth in the Bill of Indictment.

        2.     lf and to the extent required by Fed. R. Crim. P.32.2(b)(6),21 U.S.C. g 853(n),
and/or other applicable law, the United States shall publish notice and provide direct written notice
of forleiture.

        3.       Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry of this order, the United States
Attomey's Office is authorized to conduct any discovery needed to identify, locate, or dispose of
the property, including depositions, interrogatories, and requests for production ofdocuments, and
to issue subpoenas pursuant to Fed. R. Civ. P. 45.

        4.      A forfeiture moneyjudgment shall be included in the defendant's sentence, and the
 United States may take steps to collect thejudgment from any property ofthe defendant, provided,
the value of any forfeited specific assets shall be credited toward satisfaction of this money
.judgment upon liquidation.




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         The parties stipulate and agree that the aforementioned asset(s) constitute property derived
from or traceable to proceeds of defendant's crime(s) herein or property used in any manner to
facilitate the commission of such offense(s) and are therefore subject to forfeiture pursuant to 2l
U.S.C. $ 853. The defendant hereby waives the requirements of Fed. R. Crim. P. 32.2 and 43(a)
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation ofthe forfeiture in the judgment against defendant. Ifthe defendant
has previously submitted a claim in response to an administrative forfeiture proceeding regarding
any of this property, defendant hereby withdraws that claim. lf defendant has not previously
submitted such a claim, defendant hereby waives all right to do so.



JILL WESTMORELAND ROSE
UNITED STATES ATTORNEY




                                                              SalvJ.r AnA'n* Vai.t
STEVEN R. KAUFMAN                                             SALVADOR MARTINEZ-YANEZ
Assistant United States Attome)                               Defendant




Signed this the 5th day of July 201 7.




                                                              AVID C. KI]ESLER
                                              UNITED STATES MAGISTRATE JUDGE




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